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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

   IN RE: FCA US LLC                      Case No. 16-md-02744
   MONOSTABLE ELECTRONIC
   GEARSHIFT LITIGATION                   Honorable David M. Lawson

   MDL No. 2744                           Magistrate Judge David R. Grand


      PLAINTIFFS’ RESPONSE IN OPPOSITION TO FCA US LLC’S
   “MOTION TO SEAL CERTAIN INFORMATION IN AND ATTACHED TO
         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
            AND CLASS REPRESENTATIVES” (ECF No. 311)
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                    STATEMENT OF THE ISSUE PRESENTED

        Whether the Court should deny FCA US LLC’s request to place certain

  documents, which were cited in Plaintiffs’ Motion for Class Certification and

  Appointment of Class Counsel and Class Representatives, or attached as exhibits

  thereto, under seal when they do not contain information that is privileged,

  confidential, proprietary, or a trade secret?


  Plaintiffs Answer:                Yes

  FCA Answers:                     No

  The Court should answer:          Yes




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                     MOST CONTROLLING AUTHORITIES

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  Rudd Equip. Co., Inc. v. John Deere Constr. & Forestry Co., 834 F.3d 589 (6th Cir.
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                                  INTRODUCTION

        FCA US LLC (“FCA”) again makes the extraordinary request for this Court

  to seal and redact non-confidential and non-proprietary information and documents

  – this time in Plaintiffs’ Motion for Class Certification and Appointment of Class

  Counsel and Class Representatives (“Motion for Class Certification”). See ECF Nos.

  298, 315. FCA seeks to deprive the public, including all putative Class Members, of

  their right to access documents and information damaging to FCA’s defense

  contained in over half of the exhibits attached to one of the most important pleadings

  in this class action litigation. FCA’s self-serving request should be denied.

        FCA’s request centers around sealing or redacting the following documents

  and information, including citations and references in Plaintiffs’ Motion for Class

  Certification: (1) generalized marketing studies commissioned by FCA and

  performed by non-party Lextant Corp., and any mention of the Lextant studies by

  Plaintiffs’ experts or FCA personnel in FCA records, such as emails or presentations;

  (2) emails discussing negative user feedback and comments regarding the

  monostable shifter ultimately installed in the Class Vehicles; (3) miscellaneous

  documents, such as FCA presentations, relating to the decision and timeline for

  implementation of the monostable electronic shifter in the Class Vehicles; (4)

  portions of Class Plaintiffs’ expert Craig Rosenberg, PhD’s report related to the

  monostable gear shifter and citing in part the Lextant marketing studies; and (5)


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  deposition testimony relating to job descriptions, personnel identifications,

  discussions of gear shifters in relation to the decision to install the monostable gear

  shifter in the Class Vehicles, and attendance at gear shifter evaluations, including

  the Lextant marketing studies (collectively, the “Contested Exhibits”).

           FCA argues that this information should be sealed as it is “confidential,

  proprietary, and commercially sensitive.” Def. Motion to Seal, ECF 311 at PageID

  12722, p. 9. FCA fails to meet the heightened standard necessary to overcome the

  public’s interest and right to access. It relies on broad and conclusory statements

  and weak and generalized legal authority to claim that the Contested Exhibits are

  confidential and warrant sealing or redaction. FCA’s dislike of the damaging

  contents of the Contested Exhibits is not a compelling reason to overcome the high

  threshold to seal or redact the documents, thereby depriving the public and putative

  Class Members of the ability to review and assess the facts and information in this

  case. The Contested Exhibits should not be sealed and kept from the public view and

  FCA’s instant Motion should be denied in its entirety.

                                       ARGUMENT

      I.   FCA Fails to Meet the Heavy Burden Required to Seal the Documents.
           FCA fails to satisfy its burden to seal or redact from the public the Contested

  Exhibits in and attached to Plaintiffs’ Motion for Class Certification. Local Rule 5.3

  provides that “[t]he Court may grant a motion to seal only upon a finding of a


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  compelling reason….” E.D. Mich. L.R. 5.3(b)(3)(C)(i) (emphasis added). In

  determining whether a compelling reason is present, the Sixth Circuit has held that:

               The courts have long recognized . . . a “strong presumption
               in favor of openness” as to court records. Brown &
               Williamson, 710 F.2d at 1179. The burden of overcoming
               that presumption is borne by the party that seeks to seal
               them. In re Cendant Corp., 260 F.3d 183, 194 (3d Cir.
               2001). The burden is a heavy one: “Only the most
               compelling reasons can justify non-disclosure of judicial
               records.” In re Knoxville News–Sentinel Co., 723 F.2d
               470, 476 (6th Cir. 1983).

  Shane Grp., Inc. v. Blue Cross Blue Shield of Michigan, 825 F.3d 299, 305 (6th Cir.

  2016) (emphasis added). Even if a compelling reason were to exist, “the seal itself

  must be narrowly tailored to serve that reason.” Id. Therefore, FCA “must ‘analyze

  in detail, document by document, the propriety of secrecy, providing reasons and

  legal citations.’” Id. at 305-06 (quoting Baxter Int'l, Inc. v. Abbott Labs., 297 F.3d

  544, 548 (7th Cir. 2002)). Here, FCA fails to meet this heightened standard both

  legally and factually. Like the parties attempting to seal in Shane, FCA’s “asserted

  bases” for sealing are “brief, perfunctory and patently inadequate.” Id. at 306.

        A. FCA’s Private Interests Do Not Overcome the Public’s Right of Access.

        In order for the Court to consider sealing documents, the “court must balance

  [FCA’s] privacy interests against the public's right of access, recognizing our judicial

  system's strong presumption in favor of openness.” Rudd Equip. Co., Inc. v. John

  Deere Constr. & Forestry Co., 834 F.3d 589, 594 (6th Cir. 2016). In fact, “the


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  greater the public interest in the litigation's subject matter, the greater the showing

  necessary to overcome the presumption of access.” Shane, 825 F.3d at 305.

        As applicable here, “in class actions—where by definition ‘some members of

  the public are also parties to the case’—the standards for denying public access to

  the record ‘should be applied . . . with particular strictness.’” Id. (quoting In re

  Cendant Corp., 260 F.3d 183, 194 (3d Cir. 2001)). Similar to Shane, the instant class

  action, based “on credible allegations” affecting hundreds of thousands of

  individuals, “is a case in which the public has a keen and legitimate interest.” Id. at

  302. “Class members cannot participate meaningfully in the process contemplated

  by Federal Rule of Civil Procedure 23(e) unless they can review … the court

  record.” Id. at 309 (emphasis added). Sealing the Contested Exhibits attached to or

  cited in Plaintiffs’ Motion for Class Certification deprives a putative class member

  of access to vital information contained in one of the most critical briefs in this

  matter. Id. at 304.

        Further, only a very narrow scope of information can “overcome the

  presumption of access.” Id. at 308.

               “In civil litigation, only trade secrets, information covered
               by a recognized privilege (such as the attorney-client
               privilege), and information required by statute to be
               maintained in confidence (such as the name of a minor
               victim of a sexual assault),” is typically enough to
               overcome the presumption of access. Baxter, 297 F.3d at
               546; see also Brown & Williamson, 710 F.2d at 1180 (“In
               such cases, a court should not seal records unless public
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                                access would reveal legitimate trade secrets, a recognized
                                exception to the right of public access to judicial records”).
   Id.

                 FCA has not proffered any compelling evidence, and cannot credibly claim,

   that the Contested Exhibits contain the trade secrets of either FCA or Lextant Corp.

   Yet, FCA moves to seal the Lextant studies and any mention of those studies in FCA

   records included as exhibits to Plaintiffs’ Class Certification Briefing and in

   Plaintiffs’ expert’s report. (Contested Exhibits C, D, E, F, G, L and S). 1   FCA’s

   assertions that the Lextant studies, and citations and references to the same, contain

   “confidential or sensitive commercial information relating to FCA US’s vehicle

   development strategies, negotiations with suppliers, and sales practices” are not

   borne out by the documents at issue. The studies do not reference or otherwise

   contain any information that was provided by, or uniquely within the possession of,

   FCA.                 Moreover, the studies say nothing about shifter procurement and

   development, such that a competitor could discern FCA’s internal processes for

   product development, supplier negotiation, or sales. The Lextant studies merely

   provide an analysis of consumer opinions of various shifters, some of which were

   already incorporated into FCA (and non-FCA) vehicles at the time the study was



                                                               
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     The Lextant study was the subject of FCA’s Motion to Seal Confidential
   Documents in Daubert Filings (ECF No. 298), Plaintiffs hereby incorporate the
   arguments asserted in Plaintiffs’ Response Brief (ECF No. 315) to FCA’s motion.
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   commissioned. In other words, FCA is claiming that consumer opinions about now-

   antiquated, publicly-known technology is “proprietary.” Also, Plaintiffs’ expert’s

   opinions regarding this now publicly-known technology are not proprietary to the

   Defendant and FCA does not otherwise meet its burden to overcome the presumption

   of access. (Contested Exhibit S, Selected Pages from Report of Craig Rosenberg,

   Ph.D.). See Shane at 306 (The Sixth Circuit refused to seal class plaintiffs’ expert

   report.)

         None of the Contested Exhibits contain the type of information typically given

   protection by courts, such as trade secrets or recognized privileges. Id. Emails

   (Contested Exhibits J and N) that provide negative user feedback and comments

   regarding the monostable shifter, while potentially damaging to FCA’s defenses and

   positions in this action, are not the type of documents that can overcome the

   presumption of public access. Rudd, 834 F.3d at 594 (“Simply showing that the

   information would harm the company’s reputation is not sufficient to overcome the

   strong common law presumption in favor of public access to court proceedings and

   records’” (quoting Brown & Williamson Tobacco Corp. v. F.T.C., 710 F.2d 1165,

   1179 (6th Cir. 1983))).

         Likewise, the deposition testimony and other FCA presentation documents

   about the electronic shifter do not contain trade secrets and are not otherwise the

   type of documents that meet the heightened burden for sealing. (Contested Exhibits


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   B, E, H, I, and K), Exhibits B, E and K are the deposition testimony of FCA

   engineering employees regarding job descriptions, identification of personnel,

   discussion of gear shifters in relation to the decision to install the monostable gear

   shifter in the Class Vehicles and their attendance at gear shifter evaluations,

   including the Lextant marketing studies. Exhibits H and I are Product Committee

   Minutes and Presentation Slides relating to the decision and timeline for

   implementation of the monostable electronic shifter in the Class Vehicles.

         FCA’s argument that Documents B, E, H, I and K are “confidential” and

   contain “commercially sensitive information” that could harm its business interests

   because the information could be used by its competitors to gain a strategic

   advantage is unavailing. Def. Motion to Seal, ECF 311, PageID 12732 at p. 19. This

   is particularly unpersuasive when the testimony and documents involve mundane,

   non-confidential matters such as job history, the names of employees, and the now

   publicly-known technology that is installed in the Class Vehicles. See Shane, 825

   F.3d at 307-08 (“‘[C]ompetitively-sensitive financial and negotiating information’”

   is an inadequate reason for sealing a document; and is “not entitled to protection as

   a legitimate trade secret.”) Any potential harm to FCA is “in disclosure of poor

   management in the past. That is hardly a trade secret.” Id. quoting Joy v. North,

   692 F.2d 880, 894 (2d Cir. 1982). FCA has not met its burden for sealing.




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         Additionally, “‘in delineating the injury to be prevented, specificity is

   essential.’” Id. at 307-08 (quoting Cendant, 260 F.3d at 194). Here, like in Shane,

   FCA at best provides “brief, perfunctory, and patently inadequate” bases and reasons

   for sealing the Contested Exhibits. Id. at 306. Blanket labels of ‘confidential’ and

   ‘sensitive business information’ do not provide the necessary specificity to afford

   FCA privacy from the public. See Id. at 307-08.

         Moreover, as noted in Shane, in certain cases,

                the public's interest is focused not only on the result, but
                also on the conduct giving rise to the case. In those cases,
                “secrecy insulates the participants, masking impropriety,
                obscuring incompetence, and concealing corruption.” . . .
                And in any of these cases, the public is entitled to assess
                for itself the merits of judicial decisions. Thus, “[t]he
                public has an interest in ascertaining what evidence and
                records the District Court and this Court have relied upon
                in reaching our decisions.”
   Id. at 305 (quoting Brown, 710 F.2d at 1179-81) (emphasis added). The public,

   including all of the putative class members, have an interest in the conduct giving

   rise to the claims in this case and whether the class is certified.

         FCA does not dispute its own interests must outweigh the public’s interests.

   See ECF No. 311 at PageID 12728, p. 15; In re Knoxville News–Sentinel Co., 723

   F.2d 470, 476 (6th Cir. 1983) (“[T]rial courts have always been afforded the power

   to seal their records when interests of privacy outweigh the public’s right to know.”

   (emphasis added)). However, FCA’s assertion that a “showing that ‘disclosure will


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   work a clearly defined and serious injury’” will satisfy the burden is incorrect, as

   such a showing will not, standing alone, overcome the burden to seal a document.

   Shane, 825 F.3d at 307 (quoting Cendant, 260 F.3d at 194). Moreover, even if

   showing a clearly defined serious injury was sufficient, FCA has not met this burden.

         FCA also relies on Flexsys Am. LP v. Kumho Tire U.S.A., Inc., No.

   5:05CV156, 2010 WL 2813423 (N.D. Ohio July 15, 2010) to lessen its burden to

   seal documents under the assertion that FCA’s private business information, such as

   the Contested Exhibits, are not necessary to understand the Court’s forthcoming

   ruling. ECF No. 311 at PageID 12734, p. 21. To the contrary, the Contested Exhibits,

   particularly the Lextant studies and the contested emails, go to the heart of this case

   and strongly support Plaintiffs’ claims. Moreover, in Flexsys, the issue pertained to

   a request to redact only portions of a judicial opinion that contained information

   related to a patent pending process – not the entire document. Flexsys, 2010 WL

   2813423, at *3. Even then, the Court refused to redact the opinion, and instead

   elected to revise the opinion to prevent the lack of public access. Id.

         Further, FCA’s reliance on Cincinnati Ins. Co. v. Richfield Corp., Inc., No.

   2:16-CV-14342, 2017 WL 5957765 (E.D. Mich. Aug. 16, 2017) is inapposite as we

   do not know the reasons the court sealed two documents and the court did not “set

   forth specific findings and conclusions ‘which justify nondisclosure to the

   public[.]’” Shane, 825 F.3d at 306 (quoting Brown, 710 F.2d at 1176). Likewise,


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   FCA’s reliance on Med. Ctr. at Elizabeth Place, LLC v. MedAmerica Health Sys.

   Corp., No. 3:12-CV-26, 2012 WL 12929563 (S.D. Ohio June 22, 2012) is misplaced.

   The defendants in Med. Ctr. sought only to redact “detailed financial information”

   that was not even cited to in the motion to dismiss briefing at issue, whereas here

   FCA seeks to redact information that is cited and relied upon by Class Plaintiffs.

         Accordingly, FCA has not satisfied the heavy burden to seal the Contested

   Exhibits and prevent access to the public.

         B. FCA Does Not Narrowly Tailor the Proposed Sealing of the Contested
            Exhibits to Protect FCA’s Purported Interest Nor Does FCA Provide
            Adequate Detail and Support.

         The Sixth Circuit clearly states that, if a compelling reason does exist to seal

   a document, the proposed seal “must be narrowly tailored to serve that reason” and

   that FCA “must ‘analyze in detail, document by document, the propriety of secrecy,

   providing reasons and legal citations.’” Shane, 825 F.3d at 305-06 (quoting Baxter,

   297 F.3d at 545). Here, however, contrary to Sixth Circuit precedent, FCA does not

   seek to narrowly seal or redact portions of the Lextant studies, deposition testimony,

   or other exhibits that pertain to FCA’s purported confidential information. Instead,

   FCA seeks to seal the entirety of the Lextant studies, redact any and all references,

   quotations, or citations to the Lextant studies in other documents, redact all

   deposition testimony (including general testimony about the witness’s occupation),

   and seal the entirety of other highly relevant exhibits. ECF No. 311 at PageID 12723-


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   12727, pp. 10-14. This is not a “modest, targeted request” as FCA once again asserts.

   Id. at PageID 12733, p. 20. Nor does this request analyze, in detail, the Contested

   Exhibits with respect to FCA’s purported confidential information. It is a request to

   seal information that damages FCA’s defenses and positions in this case.

         C. Lextant’s Purported Interests Do Not Tip the Scale in FCA’s Favor.

         FCA further claims that the Lextant studies contain confidential information

   pertaining to Lextant Corp. A review of the studies shows such assertion to be

   wrong. Furthermore, as Shane held with respect to a third party, “there is no statutory

   or regulatory privilege that protects their information from disclosure.” Shane, 825

   F.3d at 308. FCA also does not provide the Court with any detail regarding the nature

   of the confidential information that pertains to Lextant Corp., or any injury that

   Lextant would suffer if the studies were disclosed to the public. Moreover, FCA has

   not established any authorization or duty to act on behalf of Lextant Corp.

   Accordingly, FCA does not satisfy the burden or overcome the strong presumption

   of access in order to seal the Lextant studies and any references or citations thereto.

                                     CONCLUSION

         For the reasons set forth above, Plaintiffs request that this Court deny FCA’s

   “Motion to Seal Certain Information In and Attached To Plaintiffs’ Motion For Class

   Certification and Class Representatives” (ECF No. 311).




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       Dated: March 7, 2019        Respectfully submitted,

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                             CERTIFICATE OF SERVICE

         I hereby certify that on March 7, 2019, I electronically filed the foregoing

   document with the Clerk of the Court using the ECF system which will send

   notification of such filing to the attorneys of record.


                                           /s/ E. Powell Miller
